Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8007 Filed 10/10/23 Page 1 of 43
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8008 Filed 10/10/23 Page 2 of 43
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8009 Filed 10/10/23 Page 3 of 43
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8010 Filed 10/10/23 Page 4 of 43




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JUSTIN GUY,
                                                      Case No.: 20-cv-12734
               Plaintiff,
                                                      Hon. Mark A. Goldsmith
  v.

  ABSOPURE WATER COMPANY, LLC,

               Defendant.
                                                /

                    DECLARATION OF AARON ARMSTEAD

        I, Aaron Armstead, hereby declare that the following information is true and

  correct to the best of my personal knowledge and belief:

        1.     I worked as a Driver for Absopure Water Company (hereafter

  “Absopure”).

        2.     I worked for Absopure from May 14, 2018 to September 21, 2018.

        3.     I understand that the relevant time period in this matter is from October

  7, 2017 to the present.

        4.     Because Absopure does not maintain records, the following

  information is based on my estimates of my hours worked during the relevant time

  period.

        5.     During the relevant time period, I estimate that I began working during

  the average workweek day at 6:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8011 Filed 10/10/23 Page 5 of 43




        6.    During the relevant time period, I estimate that I stopped working

  during the average workweek day at 5:30 p.m.

        7.    During the relevant time period, I estimate that I began working during

  the average weekend day at 6:00 a.m.

        8.    During the relevant time period, I estimate that I stopped working

  during the average weekend day at 1:00 p.m.

        9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

  by work.

        Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

  foregoing statements are true and correct and that I have personal knowledge of the

  information provided above.



         Aug 31, 2023
  Dated: ____________                           __________________________
                                                Aaron Armstead (Aug 31, 2023 15:51 EDT)

                                                AARON ARMSTEAD




                                           2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8012 Filed 10/10/23 Page 6 of 43




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JUSTIN GUY,
                                                      Case No.: 20-cv-12734
               Plaintiff,
                                                      Hon. Mark A. Goldsmith
  v.

  ABSOPURE WATER COMPANY, LLC,

               Defendant.
                                                /

                    DECLARATION OF DWANE ARMSTEAD

        I, Dwane Armstead, hereby declare that the following information is true and

  correct to the best of my personal knowledge and belief:

        1.     I worked as a Driver for Absopure Water Company (hereafter

  “Absopure”).

        2.     I worked for Absopure from June 11, 2018 to October 4, 2018.

        3.     I understand that the relevant time period in this matter is from October

  7, 2017 to the present.

        4.     Because Absopure does not maintain records, the following

  information is based on my estimates of my hours worked during the relevant time

  period.

        5.     During the relevant time period, I estimate that I began working during

  the average workweek day at 6:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8013 Filed 10/10/23 Page 7 of 43




        6.    During the relevant time period, I estimate that I stopped working

  during the average workweek day at 7:15 p.m.

        7.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

  by work.

        Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

  foregoing statements are true and correct and that I have personal knowledge of the

  information provided above.



         Sep 7, 2023
  Dated: ____________                          __________________________
                                               Dwane Armstead (Sep 7, 2023 13:47 EDT)

                                               DWANE ARMSTEAD




                                           2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8014 Filed 10/10/23 Page 8 of 43




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

  JUSTIN GUY,
                                                      Case No.: 20-cv-12734
               Plaintiff,
                                                      Hon. Mark A. Goldsmith
  v.

  ABSOPURE WATER COMPANY, LLC,

               Defendant.
                                                /

                        DECLARATION OF ERICK BANKS

        I, Erick Banks, hereby declare that the following information is true and

  correct to the best of my personal knowledge and belief:

        1.     I worked as a Driver for Absopure Water Company (hereafter

  “Absopure”).

        2.     I worked for Absopure from April 23, 2018 to August 31, 2018.

        3.     I understand that the relevant time period in this matter is from October

  7, 2017 to the present.

        4.     Because Absopure does not maintain records, the following

  information is based on my estimates of my hours worked during the relevant time

  period.

        5.     During the relevant time period, I estimate that I began working during

  the average workweek day at 6:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8015 Filed 10/10/23 Page 9 of 43




        6.    During the relevant time period, I estimate that I stopped working

  during the average workweek day at 4:00 p.m.

        7.    During the relevant time period, I estimate that I began working during

  the average weekend day at 8:00 a.m.

        8.    During the relevant time period, I estimate that I stopped working

  during the average weekend day at 2:00 p.m.

        9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

  by work.

        Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

  foregoing statements are true and correct and that I have personal knowledge of the

  information provided above.



         Sep 5, 2023
  Dated: ____________                           __________________________
                                                Erick banks (Sep 5, 2023 17:13 EDT)

                                                ERICK BANKS




                                           2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8016 Filed 10/10/23 Page 10 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                       DECLARATION OF LUCAS BELONGA

         I, Lucas Belonga, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from May 2, 2022 to the present.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:30 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8017 Filed 10/10/23 Page 11 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 2:30 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:30 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 12:30 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 15, 2023
   Dated: ____________                          __________________________
                                                Lucas Belonga (Sep 15, 2023 12:04 EDT)


                                                LUCAS BELONGA




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8018 Filed 10/10/23 Page 12 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                        DECLARATION OF KEITH BROWN

         I, Keith Brown, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from September 5, 2006 to July 1, 2020.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 7:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8019 Filed 10/10/23 Page 13 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 6:30 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 7:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 1:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Aug 31, 2023
   Dated: ____________                           __________________________
                                                 Keith Brown Jr (Aug 31, 2023 19:53 EDT)

                                                 KEITH BROWN




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8020 Filed 10/10/23 Page 14 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                     DECLARATION OF DANNIELLE CHILDS

         I, Danielle Childs, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from December 5, 2019 to the present.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8021 Filed 10/10/23 Page 15 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 2:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:15 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 11:00 a.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 7, 2023
   Dated: ____________                          __________________________
                                                Dannielle Childs (Sep 7, 2023 16:19 EDT)

                                                DANNIELLE CHILDS




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8022 Filed 10/10/23 Page 16 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                             DECLARATION OF CALEB FISH

         I, Caleb Fish, hereby declare that the following information is true and correct

   to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from April 30, 2018 to the present.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 5:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8023 Filed 10/10/23 Page 17 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 5:30 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 4:30 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 12:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 20, 2023
   Dated: ____________                          __________________________
                                                Caleb Fish (Sep 20, 2023 11:56 EDT)

                                                CALEB FISH




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8024 Filed 10/10/23 Page 18 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                    DECLARATION OF BOAZ HOUSEHOLDER

         I, Boaz Householder, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from March 7, 2022 to April 22, 2022.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 5:30 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8025 Filed 10/10/23 Page 19 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 4:30 p.m. (7:30 p.m. twice per week).

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 2:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 18, 2023
   Dated: ____________                           __________________________
                                                Boaz Householder (Sep 18, 2023 15:08 EDT)

                                                 BOAZ HOUSEHOLDER




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8026 Filed 10/10/23 Page 20 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                        DECLARATION OF SHAWN JACEK

         I, Shawn Jacek, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from October 15, 2018 to November 27, 2018.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:45 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8027 Filed 10/10/23 Page 21 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 6:45 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:45 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 5:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 18, 2023
   Dated: ____________
                                                  Shawn Jacek
                                                 __________________________
                                                Shawn Jacek (Sep 18, 2023 09:47 PDT)

                                                 SHAWN JACEK




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8028 Filed 10/10/23 Page 22 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                     DECLARATION OF GARY JOHNSON, JR.

         I, Gary Johnson, Jr., hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from January 31, 2022 to March 31, 2023.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:30 a.m. – 7:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8029 Filed 10/10/23 Page 23 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 6:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:30 a.m. – 7:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 1:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 18, 2023
   Dated: ____________                           __________________________
                                                Gary Johnson (Sep 18, 2023 18:42 EDT)


                                                 GARY JOHNSON, JR.




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8030 Filed 10/10/23 Page 24 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                     DECLARATION OF RICARDO LAMMER

         I, Ricardo Lammer, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from April 8, 2019 to October 3, 2019.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 5:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8031 Filed 10/10/23 Page 25 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 4:00 p.m. – 5:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 3:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 2:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 15, 2023
   Dated: ____________                           __________________________
                                                Ricardo Lammer (Sep 15, 2023 13:26 EDT)

                                                 RICARDO LAMMER




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8032 Filed 10/10/23 Page 26 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                        DECLARATION OF PAUL OKIMOTO

         I, Paul Okimoto, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from September 13, 2021 to the present.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8033 Filed 10/10/23 Page 27 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 3:30 p.m.

         7.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 16, 2023
   Dated: ____________                          __________________________
                                                Paul okimoto (Sep 16, 2023 17:09 EDT)

                                                PAUL OKIMOTO




                                            2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8034 Filed 10/10/23 Page 28 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                     DECLARATION OF TERRY PEMBERTON

         I, Terry Pemberton, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from February 21, 2022 to June 24, 2022.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     My schedule varied each workday based on overnight travel on certain

   workdays during the relevant time period.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8035 Filed 10/10/23 Page 29 of 43




         6.    I did not have a consistent average estimated start time or end time each

   workday during the relevant time period.

         7.    I estimate that I worked approximately 47 hours each workweek.

         8.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Aug 31, 2023
   Dated: ____________                            __________________________
                                                  Terry E Pemberton Jr (Aug 31, 2023 16:49 EDT)

                                                  TERRY PEMBERTON




                                              2
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8036 Filed 10/10/23 Page 30 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                       DECLARATION OF CHARLES PERRY

         I, Charles Perry, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from July 11, 2016 to October 5, 2018.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 7:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8037 Filed 10/10/23 Page 31 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 7:00 p.m. – 8:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 7:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 3:00 p.m. – 4:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 18, 2023
   Dated: ____________                          __________________________
                                                Charles Perry (Sep 18, 2023 10:27 EDT)

                                                CHARLES PERRY




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Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8038 Filed 10/10/23 Page 32 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                         DECLARATION OF KEVIN PHIPPS

         I, Kevin Phipps, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from September 11, 2017 to August 16, 2021.

         3.     I understand that the relevant time period in this matter is from October

   8, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 5:45 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8039 Filed 10/10/23 Page 33 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 4:00 p.m. - 5:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 8:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 1:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Aug 31, 2023
   Dated: ____________
                                                  kevin phipps
                                                 __________________________
                                                 kevin phipps (Aug 31, 2023 18:28 EDT)

                                                 KEVIN PHIPPS




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Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8040 Filed 10/10/23 Page 34 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                      DECLARATION OF NATHAN REDMER

         I, Nathan Redmer, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from May 23, 2022 to November 3, 2022.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:00 a.m. – 7:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8041 Filed 10/10/23 Page 35 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 7:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:00 a.m. – 7:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 12:00 p.m. – 1:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 5, 2023
   Dated: ____________                          __________________________
                                                Nathan Redmer (Sep 5, 2023 15:02 EDT)

                                                NATHAN REDMER




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Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8042 Filed 10/10/23 Page 36 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                         DECLARATION OF RYAN RHODES

         I, Ryan Rhodes, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from June 20, 2022 to the present.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8043 Filed 10/10/23 Page 37 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 5:30 p.m. – 6:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 1:00 p.m. – 2:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 19, 2023
   Dated: ____________                          __________________________
                                                Ryan Nicholas Rhodes (Sep 19, 2023 17:45 EDT)

                                                RYAN RHODES




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Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8044 Filed 10/10/23 Page 38 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                     DECLARATION OF DAVID SUJKOWSKI

         I, David Sujkowski, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from February 1, 2021 to March 10, 2022.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 7:15 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8045 Filed 10/10/23 Page 39 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 5:15 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 1:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Aug 31, 2023
   Dated: ____________                           __________________________
                                                 David Sujkowski (Aug 31, 2023 15:32 EDT)

                                                 DAVID SUJKOWSKI




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Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8046 Filed 10/10/23 Page 40 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                      DECLARATION OF KYLE WINCONEK

         I, Kyle Winconek, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from January 25, 2021 to July 6, 2022.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:00 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8047 Filed 10/10/23 Page 41 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 4:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:00 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 12:30 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Aug 31, 2023
   Dated: ____________                          __________________________
                                                Kyle Winconek (Aug 31, 2023 15:13 EDT)

                                                KYLE WINCONEK




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Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8048 Filed 10/10/23 Page 42 of 43




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

   JUSTIN GUY,
                                                       Case No.: 20-cv-12734
                Plaintiff,
                                                       Hon. Mark A. Goldsmith
   v.

   ABSOPURE WATER COMPANY, LLC,

                Defendant.
                                                 /

                       DECLARATION OF GEORGE WOLDT

         I, George Woldt, hereby declare that the following information is true and

   correct to the best of my personal knowledge and belief:

         1.     I worked as a Driver for Absopure Water Company (hereafter

   “Absopure”).

         2.     I worked for Absopure from December 19, 2022 to February 2, 2023.

         3.     I understand that the relevant time period in this matter is from October

   7, 2017 to the present.

         4.     Because Absopure does not maintain records, the following

   information is based on my estimates of my hours worked during the relevant time

   period.

         5.     During the relevant time period, I estimate that I began working during

   the average workweek day at 6:45 a.m.
Case 2:20-cv-12734-MAG-EAS ECF No. 162-6, PageID.8049 Filed 10/10/23 Page 43 of 43




         6.    During the relevant time period, I estimate that I stopped working

   during the average workweek day at 8:00 p.m.

         7.    During the relevant time period, I estimate that I began working during

   the average weekend day at 6:45 a.m.

         8.    During the relevant time period, I estimate that I stopped working

   during the average weekend day at 3:00 p.m.

         9.    I rarely if ever had a lunchbreak of 20 minutes or more, uninterrupted

   by work.

         Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

   foregoing statements are true and correct and that I have personal knowledge of the

   information provided above.



          Sep 5, 2023
   Dated: ____________                           __________________________
                                                 George woldt (Sep 5, 2023 17:06 EDT)

                                                 GEORGE WOLDT




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